           Case 2:19-cv-00929-GMN-VCF Document 28 Filed 10/20/20 Page 1 of 2



 1                              UNITED STATES DISTRICT COURT
 2                                      DISTRICT OF NEVADA
 3
     RUFINO Q. AQUINO,                 )
 4                                     )
 5
                   Plaintiff,          )                       Case No.: 2:19-cv-00929-GMN-VCF
          vs.                          )
 6                                     )                                    ORDER
     PNC BANK NATIONAL ASSOCIATION, et )
 7   al.,                              )
                                       )
 8
                   Defendants.         )
 9

10          Pending before the Court is the Motion to Expunge Lis Pendens, (ECF No. 27), filed by
11   Defendant PNC Bank National Association (“PNC”). For the reasons discussed below, the
12   PNC’s Motion to Expunge Lis Pendens is GRANTED.
13   I.     BACKGROUND
14          Plaintiff Rufino Aquino (“Plaintiff”) originally filed this lawsuit on May 9, 2019, in state
15   court. (Compl., ECF No. 1-1). PNC subsequently removed to federal court on the basis of
16   diversity jurisdiction. (Pet. Removal, ECF No. 1). On March 11, 2020, the Court entered an
17   Order dismissing this matter with prejudice. (Order, ECF No. 25). Pursuant to said Order, PNC
18   filed the instant Motion. Plaintiff did not file a response, and the deadline to do so has passed.
19   II.    DISCUSSION
20          Local Rule 7-2(d) provides that “[t]he failure of an opposing party to file points and
21   authorities in response to any motion, except a motion . . . constitutes a consent to the granting
22   of the motion.” D. Nev. LR 7-2(d). Given Plaintiff’s failure to file an opposition, the Court
23   grants the Motion pursuant to Local Rule 7-2(d).
24   ///
25   ///


                                                 Page 1 of 2
            Case 2:19-cv-00929-GMN-VCF Document 28 Filed 10/20/20 Page 2 of 2



 1   III.   CONCLUSION
 2          IT IS HEREBY ORDERED that PNC’s Motion to Expunge Lis Pendens, (ECF No.
 3   27), is GRANTED.
 4          IT IS FURTHER ORDERED the Notice of Pendency of Action or Lis Pendens
 5   recorded by Plaintiff in relation to this matter, as Instrument No. 20190819-0001260 as to a
 6   certain parcel of real property with Assessor’s Parcel No. 177-16-701-011 shall be expunged.
 7          IT IS FURTHER ORDERED that a copy of this Order may be recorded with the Clark
 8   County’s Recorder’s Office in the applicable chain of title.
 9                     20
            DATED this ____ day of October, 2020.
10

11
                                                  ___________________________________
12                                                Gloria M. Navarro, District Judge
                                                  United States District Court
13

14

15

16

17

18

19

20

21

22

23

24

25



                                                Page 2 of 2
